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               EXHIBIT G
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                                                                                CONFIDENTIAL

                                                     November 15, 2023


     VIA EMAIL AND FEDEX

     Joseph M. Alioto
     Alioto Law Firm
     One Sansome Street, 35th Floor
     San Francisco, CA 94104
     jmalioto@aliotolaw.com

             Re:     Whalen v. Kroger Co., No. 3:23-cv-00459-VC (N.D. Cal.)

     Dear Counsel:

             In response to the Court’s order (ECF No. 103), enclosed please find the documents
     submitted by The Kroger Co. (“Kroger”) to the U.S. Federal Trade Commission (“FTC”)
     in response to the Request for Additional Information and Documentary Material issued to
     Kroger on December 5, 2022 related to Kroger’s proposed acquisition of Albertsons
     (“Second Request”).

             This production is comprised of two parts:

             (1) the 26 volumes of documents submitted to the FTC in response to the Second
                 Request, along with one overlay volume of de-privileged documents; and

             (2) the narrative responses and the exhibits and non-custodial documents
                 supporting those narrative responses submitted to the FTC in response to the
                 Second Request.

            The first part of the production is on encrypted hard drives and has been sent via
     FedEx by our eDiscovery vendor, KLDiscovery, to the name and address specified in
     Lawrence Papale’s November 14, 2023 email. The following chart provides the volume
     name and Bates range associated with each volume included in the first part of this
     production.




Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave, NW | Washington, DC 20001-3743 | www.arnoldporter.com
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 Volume              Beginning Bates Number            End Bates Number
 KRPROD 001          KRPROD-FTC-2R-000000001           KRPROD-FTC-2R-001085094
 KRPROD 002          KRPROD-FTC-2R-001085095           KRPROD-FTC-2R-002576548
 KRPROD 003          KRPROD-FTC-2R-002576549           KRPROD-FTC-2R-003958825
 KRPROD 004          KRPROD-FTC-2R-003958826           KRPROD-FTC-2R-004449400
 KRPROD 005          KRPROD-FTC-2R-004449401           KRPROD-FTC-2R-004887725
 KRPROD 006          KRPROD-FTC-2R-004887726           KRPROD-FTC-2R-005528742
 KRPROD_007          KRPROD-FTC-2R-005528743           KRPROD-FTC-2R-006207837
 KRPROD 008          KRPROD-FTC-2R-006207838           KRPROD-FTC-2R-010832714
 KRPROD 009          KRPROD-FTC-2R-010832715           KRPROD-FTC-2R-012199997
 KRPROD 010          KRPROD-FTC-2R-012199998           KRPROD-FTC-2R-014935657
 KRPROD 011          KRPROD-FTC-2R-014935658           KRPROD-FTC-2R-015694833
 KRPROD 012          KRPROD-FTC-2R-015694834           KRPROD-FTC-2R-016846864
 KRPROD 013          KRPROD-FTC-2R-016846865           KRPROD-FTC-2R-017632843
 KRPROD 014          KRPROD-FTC-2R-017632844           KRPROD-FTC-2R-018762612
 KRPROD 015          KRPROD-FTC-2R-018762613           KRPROD-FTC-2R-020226285
 KRPROD 016          KRPROD-FTC-2R-020226286           KRPROD-FTC-2R-021846974
 KRPROD_017          KRPROD-FTC-2R-021846975           KRPROD-FTC-2R-021881818
 KRPROD 018          KRPROD-FTC-2R-021881819           KRPROD-FTC-2R-023802268
 KRPROD 019          KRPROD-FTC-2R-023802269           KRPROD-FTC-2R-023846255
 KRPROD_020          KRPROD-FTC-2R-023846256           KRPROD-FTC-2R-026530885
 KRPROD 021          KRPROD-FTC-2R-026530886           KRPROD-FTC-2R-027055001
 KRPROD 022          KRPROD-FTC-2R-027055002           KRPROD-FTC-2R-027395610
 KRPROD 023          KRPROD-FTC-2R-027395611           KRPROD-FTC-2R-027408461
 KRPROD_024          KRPROD-FTC-2R-027408462           KRPROD-FTC-2R-028261301
 KRPROD 025          KRPROD-FTC-2R-028261302           KRPROD-FTC-2R-028463778
 KRPROD 026          KRPROD-FTC-2R-028463779           KRPROD-FTC-2R-028469742
 KRPROD_             N/A                               N/A
 OVERLAY 002

       The password for the first part of the production is 78669540.

        The second part of this production has been sent via Fedex to the name and address
specified in Lawrence Papale’s November 14, 2023 email, in part by Arnold & Porter and
in part by Kroger’s retained economic consultants at Compass Lexecon. Arnold & Porter
has sent one encrypted hard drive containing all of Kroger’s narrative responses to the
Second Request and the exhibits and non-custodial documents submitted by Kroger in
response to Second Request Specifications 1, 5, 17, 23, 27-28, 33-34, 45, 52, 55, 61,
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63-64, 66, 71-72, 75, 77-78, and 80-81. Compass Lexecon has sent two encrypted hard
drives containing the exhibits submitted by Kroger in response to Second Request
Specifications 2-4, 6, 9-12, 14-16, 24-25, 41-43, 48-49, and 53.

       The password for the second part of the production is HCF=&jBw/oiF6t4^.

        If any privileged or protected materials are included in this production, that
disclosure was inadvertent and is not a waiver of any claim of privilege or protection.
Should you find any privileged or protected materials in this production, please notify us
and refrain from viewing any such material.

        We are producing the documents and information contained in this production
subject to the Protective Order entered in this matter (ECF No. 82). All the documents and
information included in this production have been designated “HIGHLY
CONFIDENTIAL” under the Protective Order. In the interest of time, given the millions
of pages included herein, the documents and information in this production retain the
confidentiality stamp with which they were produced to the FTC in response to the Second
Request, typically a “CONFIDENTIAL” stamp. However, many of the documents
included in this production contain “HIGHLY CONFIDENTIAL” information as defined
in the Protective Order; accordingly, we reserve the right to restamp any document
previously stamped “CONFIDENTIAL” as “HIGHLY CONFIDENTIAL” in whole or in
part. We request that Plaintiffs consult with us before disclosing any document in this
production to any person not entitled to review “HIGHLY CONFIDENTIAL” documents
under the Protective Order.

       We also take this opportunity to emphasize the importance of maintaining the
confidentiality of the documents and information in this production. This production
contains highly sensitive information, the disclosure of which could cause irreparable harm
to Kroger’s business. Please be aware that Kroger reserves all right and remedies,
including seeking damages from Plaintiffs’ counsel, in the event of an unauthorized
disclosure in violation of the Protective Order.


                                             Sincerely,




                                             Sonia Pfaffenroth
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Enclosures (via FedEx)

CC:    Lawrence Papale (lgpapale@papalelaw.com)
       Tatiana Wallace (twallace@aliotolaw.com)
       Josephine Alioto (jalioto@veenfirm.com)
